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                                                                                                                E-FILED
                                                                            Wednesday, 03 May, 2017 03:08:55 PM
                                                                                   Clerk, U.S. District Court, ILCD



                                    UNITED STATES DISTRICT COURT
KENNETH A. WELLS                        CENTRAL DISTRICT OF ILLINOIS                                TEL: 217.492.4020
  CLERK OF COURT                                                                                    FAX: 217.492.4028
                                                OFFICE OF THE CLERK

       May 3, 2017

    Pontiac Correctional Center
    Attn: Trust Fund Dept.
    Pontiac, IL

    Re: Luis Roman, #M12962
                                                        Case No. 17-1195

    Dear Trust Fund Department:

    The Clerk of the Court recently received a complaint and a petition to proceed in forma pauperis
    from Mr. Roman. In order for the Court to determine whether he is entitled to proceed in
    forma pauperis, the Court must review his trust fund ledgers for the six months immediately
    preceding receipt of his complaint. Therefore, the Clerk of the Court respectfully requests that
    you provide to the Court a copy of Mr. Roman trust fund ledgers for the period of December 3,
    2016 through May 3, 2017, within fourteen days of the date of this letter. Please mail or fax
    the trust fund ledgers to:

                       United States District Court
                       Central District Of Illinois
                       100 NE Monroe, Room 309
                       Peoria, IL 61602
                       FAX: 309-671-7120

    Please refer to the above referenced case number when submitting the trust fund ledgers. Thank
    you.

                                                              Sincerely,



                                                              Kenneth A. Wells
                                                              Clerk, U.S. District Court

    cc: Inmate


         Peoria Division             Urbana Division          Springfield Division      Rock Island Division
         100 N.E. Monroe St.         201 S. Vine St.          600 E. Monroe St.         211 19th St.
         Room 309                    Room 218                 Room 151                  Room 203
         Peoria, IL 61602            Urbana, IL 61802         Springfield, IL 62701     Rock Island, IL 61201
         309.671.7117                217.373.5830             217.492.4020              309.793.5778
